
720 S.E.2d 14 (2012)
WELLS
v.
COASTAL CARDIOLOGY ASSOCIATES, et al.
No. 34P12-1.
Supreme Court of North Carolina.
January 25, 2012.
Ashley Baker White, Raleigh, for Coastal Cardiology Associates, et a
Brian Jarrod Kromke, Wilmington, for Coastal Cardiology Associates, et al.
Ashley M. Edwards, Charlotte, for Wells, Terry.
The following order has been entered on the motion filed on the 24th of January 2012 by Defendants for Temporary Stay:
"Motion Allowed by order of the Court in conference, this the 25th of January 2012."
